Case 4:20-cv-10899-MFL-DRG ECF No. 37 filed 05/04/20                   PageID.1117       Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




 DV Diamond Club of Flint, LLC,
 et al.,

                                    Plaintiff(s),
 v.                                                     Case No. 4:20−cv−10899−MFL−DRG
                                                        Hon. Matthew F. Leitman
 Small Business Administration,
 an agency of the United States,
 et al.,

                                    Defendant(s),



                                 NOTICE OF MOTION HEARING

    You are hereby notified to appear before District Judge Matthew F. Leitman at the United
 States District Court, Federal Building and U.S. Courthouse, 600 Church Street, Flint,
 Michigan. Please report to Room VIA ZOOM. The following motion(s) are scheduled for
 hearing:

                 Motion for TRO − #12

       • MOTION HEARING: May 5, 2020 at 09:30 AM

    ADDITIONAL INFORMATION: The continued hearing will take place via Zoom. Please
 use the link provided by the Court to join the hearing.



                                       Certificate of Service

    I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
 record were served.

                                                By: s/H Monda
                                                    Case Manager

 Dated: May 4, 2020
